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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OKLAHOMA

      JOHN JOHNSON,                                )
                                                   )
             Plaintiff,                            )
                                                   )
      v.                                           )       Case No. 10-CV-460-JHP-FHM
                                                   )
      OLD REPUBLIC INSURANCE                       )
      COMPANY,                                     )
                                                   )
             Defendant.                            )

                                      MOTION TO COMPEL

             COMES NOW the Plaintiff, John Johnson, and, pursuant to Fed. R. Civ. P.

      37(a)(2) and LCvR 37.1,1 moves this Court for an order compelling the Defendant Old

      Republic Insurance Company (“Old Republic”) to provide Plaintiff with a complete copy

      of its files relating to Plaintiff’s uninsured/underinsured motorist (“UIM”) claim.      In

      support, Plaintiff shows the Court the following:

                                         INTRODUCTION

             In 2008, Plaintiff John Johnson was employed by the American Automobile

      Association (“AAA”).      AAA had a policy of UIM insurance coverage written by

      Defendant Old Republic. On June 16, 2008, Mr. Johnson was dispatched by AAA to

      assist Ireta Tarwater, whose car had stalled in the middle of a busy intersection in Tulsa,

      Oklahoma. During the course of providing assistance, Mr. Johnson was injured when he

      was pinned between his AAA vehicle and Ms. Tarwater’s vehicle because Ms. Tarwater

      failed to apply pressure to her breaks as instructed. Mr. Johnson made a claim against the



      1
        The parties have personally conferred regarding the discovery dispute raised herein but
      have been unable to resolve the issue. Plaintiff represents that the assistance of the Court
      is necessary.
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      Old Republic policy. Based on correspondence from Old Republic, representations made

      by employees and agents of Old Republic, and the way the Old Republic policy was

      written, Plaintiff believes that Old Republic refused to provide benefits in part because

      the injury occurred in the course and scope of his employment, which would mean his

      injuries would be covered by AAA’s workers’ compensation insurance policy. Under

      Oklahoma law, unlike in several other states, a UIM insurer cannot exempt a claim for

      injuries just because those injuries are also covered by a separate workers’ compensation

      policy.2 It is Plaintiff’s belief that Old Republic unreasonably delayed Plaintiff’s claim

      by neither expressly admitting or denying his claim, and instead focusing on the

      impermissible workers’ compensation exclusion, the argument that Plaintiff was not

      “occupying the covered vehicle,”3 and an unreasonable undervaluation of Plaintiff’s

      damages.

             In discovery, Plaintiff has requested his entire uninsured/underinsured motorist

      insurance policy claim files, communication related to Plaintiff’s claim, and any and all

      internal documents of any type related to the adjustment of Plaintiff’s claim. In response,

      Old Republic has produced parts of its internal file and the claims file of ESIS, Inc., an

      independent organization used by Old Republic to administer claims against it. However,

      numerous pages of both files were not produced and several parts of the pages that were

      produced have been heavily redacted.        Defendant produced lengthy privilege logs

      claiming that voluminous portions of both the Old Republic and the ESIS claims files are

      2
       See Starrett v. Oklahoma Farmers Union Mut. Ins. Co., 1993 OK 30, 849 P.2d 397,
      399, citing Chambers v. Walker, 653 P.2d 931, 935 (Okla. 1982).
      3
        This Court has already found Old Republic’s position as contrary to Oklahoma
      precedent concerning the definition of “occupancy” under Oklahoma UIM policies. See
      Opinion and Order, Docket # 45.

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      subject to attorney-client privilege, work product protection and contain “proprietary”

      information. See Ex. 1 (Old Republic Privilege Log) and Ex. 2 (ESIS Privilege Log).

      Plaintiff is seeking an order from this Court directing Defendant to produce the complete

      claims files maintained by Old Republic and by ESIS, unredacted, up until the date Old

      Republic was served with this lawsuit, July 27, 2010. Plaintiff is also seeking an order

      from this Court directing Defendant to produce those parts of the claims files, created

      after July 27, 2010, that relate to Old Republic’s ongoing investigation and evaluation of

      Plaintiff’s UIM claim.

                                 ARGUMENT AND AUTHORITY

                                      I. DISCOVERY STANDARD

             It is well established that discovery under the Federal Rules is limited only by

      relevance and burdensomeness. Rich v. Martin Marietta Corp., 522 F.2d 333, 343 (10th

      Cir. 1975); see also AG Equip. Co. v. AIG Life Ins. Co., 2008 U.S. Dist. LEXIS 99915

      (Okla. N.D. 2008) (“At the discovery phase of litigation, ‘relavancy’ is broadly construed

      and a request for discovery should be considered relevant if there is ‘any possibility’ that

      the information sought may be relevant to the claim or defense of any party.”). Rule 401

      of the Federal Rules of Evidence defines “relevant evidence” to mean “evidence having any

      tendency to make the existence of any fact that is of consequence to the determination of the

      action more probable or less probable than it would be without the evidence.” (Emphasis

      added). The federal discovery rules warrant liberal construction. See Hickman v. Taylor,

      329 U.S. 495, 507 (1947) (directing “a broad and liberal treatment” of discovery rules).

             “[B]ecause all privileges are ‘in derogation of the search for truth,’ both [the

      attorney-client privilege and the attorney work product protection] are narrowly




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      construed.” Lindley v. Life Investors Insurance Company of America, 267 F.R.D. 382,

      388 (N.D. Okla. 2010), citing United States v. Kapnison, 743 F.2d 1450, 1456 (10th Cir.

      1984); see also In re Qwest Communications Intern. Inc., 450 F.3d 1179, 1185 (10th Cir.

      2006) (Privileges “must be strictly construed and accepted only to the very limited extent

      that permitting a refusal to testify or excluding relevant evidence has a public good

      transcending the normally predominant principle of utilizing all rational means for

      ascertaining truth.") (internal citation omitted); Sanchez v. Matta, 229 F.R.D. 649, 655

      (D.N.M. 2004) ("The attorney-client privilege is a narrow one and was not intended to be

      a catch-all exception to a process of broad and liberal discovery."). Thus, the party

      asserting either attorney-client privilege or work-product protection has the burden of

      clearly showing that either or both apply.4 Lindley, 267 F.R.D. at 388; see also Barclays-

      American Corporation v. Kane, 746 F.2d 653, 656 (10th Cir. 1984).

                                   II. PRE-LITIGATION CLAIMS FILE

             The claims file maintained by an insurer is the heart and soul of a bad faith/breach

      of contract claim. It is the best evidence to determine what the insurer and its employees

      were doing and thinking during the time the claim was being evaluated. See, e.g., Brown

      v. Superior Court in and for Maricopa County, 670 P.2d 725 (Ariz. 1983) (“[B]ad faith

      actions against an insurer…can only be proved by showing exactly how the company

      processed the claim, how thoroughly it was considered and why the company took the

      action it did. The claims file is a unique, contemporaneously-prepared history of the

      company’s handling of the claim; in an action such as this the need for the information in



      4
        In a diversity action, issues related to the attorney-client privilege are controlled by state
      law, while claims of attorney work product are matters of federal law. Frontier Refining,
      Inc. v. Gorman-Rupp Co. Inc., 136 F.3d 695, 702 n. 10 (10th Cir. 1998).


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      the file is not only substantial, but overwhelming.”); see also Silva v. Fire Ins. Exchange,

      112 F.R.D. 699, 699 (D. Mont. 1986) (“Under ordinary circumstances, a first-party bad

      faith claim can be proved only by showing the manner in which the claim was processed,

      and the claims file contains the sole source of much of the needed information. The time-

      worn claims of work product and attorney-client privilege cannot be invoked to the

      insurance company’s benefit where the only issue in the case is whether the company

      breached its duty of good faith in processing the insured’s claim…the general rule in

      cases of this nature should be that the plaintiff is absolutely entitled to discovery of the

      claims file.”)

              Here, Plaintiff’s action is premised on Old Republic’s continued delay of his UIM

      claim by focusing on unfounded grounds for denial, including exclusions written in the

      policy and consistent undervaluation of his damages. As such, what Old Republic’s

      agents and adjustors were thinking and doing during the time his claim was being

      handled is materially relevant and of the utmost importance. See Timmons v. Royal

      Globe Ins Co., 1982 OK 97, 653 P.2d 901, 917 (“Appellants would have the Court to

      consider relevant only [that] evidence relating to this formulation of those grounds for

      non-coverage. The cause of action sued upon is not this narrow, however. The essence

      of the cause before the Court is failure to deal fairly and in good faith with an insured and

      as such, the jury may be shown the entire course of conduct between the parties to arrive

      at a determination of whether that standard has been breached or not.”); see also Brown,

      670 P.2d at 735 (“[T]he reasons the insurance company denied the claim or the manner in

      which it dealt with it are central issues to Brown’s claim of bad faith. Thus, the strategy,

      theories, mental impressions and opinions of Continental’s agents…are directly at tissue.




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      When mental impressions and the like are directly at issue in a case, courts have

      permitted an exception to the strict protection of Rule 26(b)(3) and allowed discovery.”).

              A large part, but not all, of the withheld documentation is correspondence by and

      between Old Republic and/or ESIS employees and Lawson Vaughn, an attorney hired by

      Old Republic to assist in handling Plaintiff’s UIM claim.5 The missing portions of

      Plaintiff’s claims files relate to the investigation and valuation of his claim and are therefore


      5
        Mr. Vaughn was heavily involved in Old Republic’s investigation of Plaintiff’s claim
      both before and after this lawsuit was filed – he was asked by Old Republic to perform an
      examination under oath of Mr. Johnson so that Old Republic could evaluate Plaintiff’s
      UIM claim; he was authorized by Old Republic to communicate with Mr. Johnson’s
      counsel regarding the status of Plaintiff’s UIM claim and to accept documentation
      supporting Mr. Johnson’s claim on Old Republic’s behalf. Mr. Vaughn consistently and
      directly participated in the evaluation of Plaintiff’s claim. See Letter from R. Lawson
      Vaughn to Oleg Roytman, dated 3/24/10 (emphasis added), Ex. 3 (“Please be advised that
      the medical documentation provided concerning Mr. Johnson’s injuries has been
      reviewed. Based on the known information to date, it has been determined that the value
      of his claim is within the tortfeasor’s limit of $250,000. It also appears that the records
      provided may be incomplete. It would be appreciated if you would have the enclosed
      medical authorization executed and returned to me at your earliest convenience. We will
      continue to investigate and will be happy to consider any additional information that is
      provided and/or obtained. Plaintiff’s counsel at the time dealt exclusively with Mr.
      Vaughn regarding Plaintiff’s claim. For example, Mr. Vaughn sent yet another medical
      authorization and request for records to Plaintiff’s counsel on May 3, 2010, see Letter
      from Vaughn to Roytman dated 5/3/10, Ex. 4; and Mr. Roytman’s office delivered
      records directly to Mr. Vaughn, see Facsimile Cover Sheet from Wehmeyer to Vaughn
      dated 6/29/10, Ex. 5. Mr. Vaughn continuously represented that he, acting as the agent
      for Old Republic, would obtain the medical records necessary to evaluate Plaintiff’s
      claim and would make a coverage determination based on his evaluation. See Letter
      from Vaughn to Roytman dated 7/16/10, Ex. 6 (“I received the signed medical
      authorization your paralegal sent on May 13, 2010. The medical records were requested
      at that time, however, they have not all been received to date… I will follow-up with the
      medical providers to attempt to speed up the process of providing the missing records. It
      would be appreciated if you would provide me with Mr. Johnson’s documentation
      concerning his lost income. Old Republic will be able to re-evaluate this claim once the
      remaining medical documentation and Mr. Johnson’s lost wage documentation has been
      received. Please do not hesitate to contact me should you have any questions.”). Mr.
      Vaughn was also responsible for obtaining documentation and evaluating Plaintiff’s lost
      wage claim after Old Republic was served with notice of this lawsuit. See Letter from
      Vaughn to Roytman, dated 8/2/10, Ex. 7.


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      directly relevant to material issues in his claim for bad faith, and the same is certainly

      “reasonably calculated to lead to the discovery of” evidence relevant thereto. See Fed. R.

      Civ. P. 26. The mere fact that an attorney was involved in the matter is not sufficient to

      make a routine business investigation suddenly privileged. Recently, Judge Clearly

      addressed this issue in the case of Butterfly-Biles v. State Farm Life Ins. Co., 2010 U.S. Dist.

      LEXIS 4701 (N.D. Okla. 2010). In that case, the plaintiff sought to compel testimony from

      State Farm’s representative regarding State Farm’s investigative conduct, including conduct

      that took place after the lawsuit was filed. Butterfly-Biles, 2010 U.S. Dist. LEXIS 4701 at

      *7-9. The Court determined that because the focus of the claim was State Farm’s conduct

      up to and including the time it made a decision to deny Plaintiff proceeds under the policy,

      that conduct was relevant and discoverable even after a lawsuit was filed and an attorney

      was involved:

                      [I]n its Answer, State Farm stated that it ‘has not completed
                      its investigation or determined whether it will pay the death
                      benefits under the policy….’ On May 15, 2009, State Farm
                      filed an interpleader counterclaim and thereafter deposited
                      the insurance proceeds with the Court Clerk. The Court
                      agrees with State Farm that its conduct post-interpleader is
                      not relevant to Plaintiff's bad faith claim; however, State
                      Farm’s investigation efforts up until the interpleader may
                      be relevant since State Farm had not made a decision to pay
                      benefits, [or] deny the claim. The investigation of
                      Plaintiff's claim was within the normal course of State
                      Farm business. Since no decision as to payment or denial
                      had been made even after the lawsuit was filed, this
                      investigatory conduct may be relevant to Plaintiff's bad
                      faith claim. The fact that State Farm had an attorney
                      involved in the matter after the lawsuit was filed is not
                      sufficient to make a routine business investigation suddenly
                      privileged.

                                              *      *       *




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                      State Farm offered three explanations for directing Boden
                      not to testify on this subject: (1) Post-litigation privilege,
                      (2) work product, and (3) ‘consulting the experts.’ The
                      Court is unaware of a blanket post-litigation privilege. As
                      discussed above, since no decision as to payment or denial
                      of Plaintiff's claim was made at the time the lawsuit was
                      filed, and State Farm stated it was still investigating, post-
                      litigation activities are relevant and unprivileged. Second,
                      the routine insurance investigation begun after Plaintiff
                      made her claim under the life insurance policy did not
                      suddenly become attorney work product simply because a
                      lawsuit was filed. Finally, State Farm’s assertion that
                      testimony on this subject was precluded because ‘It's
                      consulting the experts’ is unsupported by any authority.

      Id. at * 8-10 (citations omitted).

               If the fact that an insurance company involves an attorney after suit is filed is not

      sufficient to make a routine business investigation privileged, there is no way that Mr.

      Vaughn’s pre-litigation involvement is sufficient to make privileged those parts of the

      investigative claim file created before suit was ever filed. See also Scott v. Peterson, 126

      P.3d 1232, 1234 (Okla. 2005). Additionally, the fact that an attorney’s involvement relates

      to legal interpretations and opinions is not sufficient to shroud investigative conduct in

      privilege if those interpretations and opinions have a bearing on the insurer’s handling of the

      claim:

                      In the case at bench it is possible, for example, that the
                      insurer denied payment of the claim because of a legal theory
                      (that there was no coverage), a mental impression (that the
                      insured had exaggerated the claim), an opinion (that the file
                      was attributable to arson), etc. If the file shows such a reason
                      for the denial of the claim, this information would go to the
                      very heart of the question of whether the company acted in
                      good or bad faith and must be admissible, and thus
                      discoverable, in a subsequent bad faith case. Similar
                      considerations would exist in a variety of other actions such
                      as legal malpractice, malicious prosecution, abuse of process
                      and all other cases in which the issue is the motive or reasons
                      for, or the propriety or impropriety of a party’s actions in


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                     handling a prior legal matter or proceeding. Thus, the
                     absolute immunity accorded for the essence of work product
                     – mental impressions, conclusions, opinions or legal theories
                     of the attorney or other representative – would apply only to
                     the case being litigated (here, the bad faith case) and not to
                     such material prepared for some prior case which is the
                     subject of the instant litigation. Of course, the ‘true work
                     product,’ like all other trial preparation material, will
                     continue to enjoy the qualified immunity even though
                     prepared in another case

      See Brown, 670 P.2d at 735-36, nt. 8 (emphasis added).

             It is Plaintiff’s belief that the redacted and withheld portions of the claim file

      reveal the legal theories, mental impressions and opinions of Old Republic and its agents

      that Old Republic relied on when handling Plaintiff’s claim and that Old Republic used to

      support its position not to tender benefits. Here, as in the Brown case, this information

      goes to the very heart of the question of whether or not Old Republic acted reasonably

      and in good faith. Plaintiff is not seeking the mental impressions, conclusions, opinions

      or legal theories of Defendant’s present counsel that relates to this case; rather, he is

      seeking only the information set forth in the claims files that relate to Old Republic’s

      investigation and evaluation of his claim.

             A party seeking work product immunity under Rule 26(b)(3) must establish that

      the requested materials are (1) “documents and tangible things;” (2) “prepared in

      anticipation of litigation or trial;” (3) “by or for another party or by or for that party’s

      representative.” Feldman v. Pioneer Petroleum, Inc., 87 F.R.D. 86, 88 (W.D. Okla.

      1980; see also Hall v. Goodwin, 1989 OK 88, 775 P.2d 291, 295 (“The crucial issue to a

      trial judge is whether the material is prepared in anticipation of litigation. In order to

      determine whether the material is prepared in anticipation of litigation, a court must

      determine whether the document was secured in the regular course of duties performed



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      by the individual as an employee of the insurance company (the ordinary course of

      business). In other words, is such a document typically prepared by the insurance

      company prior to notice of a lawsuit?”).

             As with the attorney-client privilege, the burden is on Defendant to establish

      work-product protection. Peat, Marwick, Mitchell & Co. v. West, 748 F.2d 540, 542 (10th

      Cir.1984); see also Sanchez v. Matta, 229 F.R.D. at 654. Establishing work-product

      protection often depends on a showing that there was a reasonable threat of litigation and

      that the threat was the motivation for creating the document(s) in question. Lindley, 267

      F.R.D. at 394 (emphasis added); see also United States ex rel. Fago v. M&T Mortgage

      Corp., 238 F.R.D. 3, 6 (D.D.C. 2006) (“‘In anticipation of litigation’ contains two

      related, but nevertheless distinct, concepts.        One is temporal.        The other is

      motivational.”). This is sometimes addressed in terms of a party’s “primary motivation”

      for creating the document(s) in question. Id. (“A key inquiry is whether the documents

      would have been created regardless of whether litigation was in the offering. In other

      words, the anticipation of future litigation must have been the primary motivation which

      led to the creation of the documents.”) (emphasis in original) (citations omitted); see also

      Sanchez, 229 F.R.D. at 655. “Materials assembled in the ordinary course of business or

      for other non-litigation purposes are not protected by the work product doctrine. The

      inchoate possibility, or even likely chance of litigation, does not give rise to work

      product.” Ledgin v. Blue Cross & Blue Shield, 166 F.R.D. 496, 498 (D.Kan. 1996)

      (emphasis added) (citations omitted).

             Lawson Vaughn handled Plaintiff’s claim for insurance benefits against

      Defendant personally and directly and Old Republic relied on Vaughn’s representations,




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      opinions and conclusions when determining whether or not to pay Plaintiff’s claim.

      Communications between Mr. Vaughn and Defendant were not made for the purpose of

      facilitating the rendition of legal services; rather, they were made for the purpose of

      facilitating the investigation and evaluation of Plaintiff’s claim under the applicable

      policy of insurance, a routine business purpose.    It is axiomatic that investigating and

      evaluating an insurance claim is a matter of routine business for an insurance company.

      See Lindley, 267 F.R.D. at 399; see also Harper v. Auto-Owners Ins. Co., 138 F.R.D.

      655, 663-664 (“It is presumed that a document or thing prepared before a final

      decision was reached on an insured’s claim, and which constitutes part of the

      factual inquiry into or evaluation of that claim, was prepared in the ordinary and

      routine course of the insurer’s business of claim determination and is not work

      product.”) (emphasis added); Milinazzo v. State Farm Ins. Co., 247 F.R.D. 691, 700-701

      (S.D. Fla. 2007) (finding that documents prepared before the final decision on an

      insured’s claim were not protected under the attorney work product doctrine, nor were

      they privileged). When Mr. Vaughn was involved in the handling of Plaintiff’s claim,

      there was no pending or active litigation against AAA, nor was there any reason to

      suggest that litigation was imminent. He simply performed routine business activities

      necessary for an insurer to investigate and evaluate a claim. If an insurance company

      were permitted to claim privilege as urged by Defendant, it would be able to farm out the

      investigation and evaluation of its claims to persons with juris doctorate degrees and

      never have to produce any documentation in a bad faith case such as this. Such a result is

      in direct conflict with both federal and Oklahoma law as described herein. See Lindley,

      267 F.R.D. at 392, n.11 (“‘[W]here businesses use their attorneys for non-legal purposes




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      to promote the interests of the corporation, their communications are not protected by the

      privilege…Common sense tells us that there is a difference between merely providing

      legal information and providing legal advice.’”) citing John K. Willa, The Attorney-Client

      Privilege and In-House Corporate Counsel, 1 Corporate Counsel Guidelines 1:16 (2009)

      (footnotes omitted).

                                III. POST-LITIGATION CLAIMS FILE.

              The relevant time period for a claim of bad faith is that time during which an

      insurance company was handling, investigating and evaluating a claim. See Butterfly-

      Biles, 2010 U.S. Dist. LEXIS 4701, * 8. It is well established in Oklahoma jurisprudence

      that an insurer’s duty to act in good faith and fair dealing continues until the benefits due

      under the policy in question are denied or paid in toto. Hale v. A.G. Ins. Co., 2006 OK

      CIV APP 80, ¶ 6 (“[T]he analysis in bad faith cases indicates the cutoff for relevant

      evidence is the date of payment or denial of the claim. The duty of good faith and fair

      dealing exists during the time the claim is being reviewed”) citing Newport v. USAA,

      2000 OK 59, 11 P.3d 190 and Skinner v. John Deere Ins. Co., 2000 OK 18, 998 P.2d

      1219.

              Plaintiff does not dispute that some of the documents in Plaintiff’s UIM claims

      files that were created after Old Republic was notified of the instant lawsuit are protected.

      However, as Judge Clearly recently opined, the mere fact that litigation is pending does

      not provide a blanket protection over all documents. See Butterfly-Biles, 2010 U.S. Dist.

      LEXIS 4701 at * 9 (“The investigation of Plaintiff's claim was within the normal course

      of State Farm’s business. Since no decision as to payment or denial had been made even

      after the lawsuit was filed, this investigatory conduct may be relevant to Plaintiff's bad




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      faith claim. The fact that State Farm had an attorney involved in the matter after the

      lawsuit was filed is not sufficient to make a routine business investigation suddenly

      privileged.”). Old Republic has never expressly denied Plaintiff’s claim. In fact, it

      continued to investigate Plaintiff’s claim, by and through Lawson Vaughn, even after this

      lawsuit was filed and served. See note 4, supra; Ex. 7. In its Answer to the Complaint

      filed herein, Old Republic denied that it “refuses to tender benefits under the applicable

      policy of insurance,” see Complaint, Dkt. # 1, ¶ 11, and instead admitted only that it “has

      not paid any policy benefits to Plaintiff.” See Answer, Dkt. # 9, ¶ 11. Moreover, Old

      Republic expressly represented that its evaluation of Plaintiff’s claim is “continuing.” Id.

      at 4, ¶ 6 (Affirmative Defenses). Because Old Republic’s investigation and evaluation of

      the claim is ongoing, post-litigation investigatory conduct contained in the claims files is

      as relevant and material to this case as pre-litigation conduct. Accordingly, Plaintiff asks

      that all documents contained in the claims files created after July 27, 2010 that relate to

      Old Republic’s continuing investigation and evaluation of Plaintiff’s claim be produced

      to Plaintiff.

                                           CONCLUSION


              The files maintained by Old Republic and ESIS regarding Plaintiff’s insurance

      claim lie at the very heart of this litigation and reveal the legal theories, mental

      impressions and opinions of Old Republic and its agents that Old Republic relied on

      when handling Plaintiff’s claim. Defendant has asserted a blanket privilege with respect

      to communications with Mr. Vaughn simply because he is a licensed attorney. As

      discussed above, this is not an appropriate assertion of privilege. The claim file

      documents at issue were created for the business purpose of determining whether or not



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      to admit or deny Plaintiff’s claim. The sought information goes to the ultimate question

      of whether or not Old Republic acted reasonably and in good faith. Plaintiff is not

      seeking the mental impressions, conclusions, opinions or legal theories of Defendant’s

      present counsel that relates to this case; rather, he is seeking only the information set

      forth in the claims files that relate to Old Republic’s investigation and evaluation of his

      UIM claim.

              WHEREFORE, premises considered, Plaintiff prays this Court compel the

      production of the entire, unredacted files maintained by and for Old Republic and ESIS

      relating to Plaintiff’s insurance claim at issue in this litigation.


                                                       Respectfully submitted,

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                                    CERTIFICATE OF SERVICE
              I hereby certify that on the 7th day of March, 2012, I electronically transmitted
      the attached document to the Clerk of Court using the ECF System for filing. Based on
      the records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing
      to the following ECF registrants: Thomas E. Steichen and Jessica Dickerson.


                                                       /s/Donald E. Smolen, II




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